                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
vs.                                         )      Case No. 19-00326-01-CR-W-GAF
                                            )
MARK A. POST,                               )
                                            )
                      Defendant.            )

                                           ORDER

       Now pending before the Court is Defendant Mark A. Post’s Motion to Suppress (Doc. #20).

The Government filed its Suggestions in Opposition to Defendant’s motion (Doc. #26) and

Defendant filed Reply Suggestions (Doc. #29).

       On March 29, 2021, United States Magistrate Judge W. Brian Gaddy conducted an

evidentiary hearing and on April 29, 2021, Judge Gaddy issued his Report and Recommendation

(Doc. #42).

       Defendant filed Objections to the Report and Recommendation (Doc. #46).

       Upon careful and independent review of the pending motion, as well as the applicable law,

this Court hereby adopts and incorporates as its own Opinion and Order the Report and

Recommendation of United States Magistrate Judge W. Brian Gaddy.

       Accordingly, it is

       ORDERED that Defendant Mark A. Post’s Motion to Suppress (Doc. #20) is DENIED.

                                                   s/ Gary A. Fenner
                                                   GARY A. FENNER, JUDGE
                                                   UNITED STATES DISTRICT COURT

DATED: May 25, 2021




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